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                                                            DATE FILED: 10/10/2019
                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


  TYLER SELL, Individually and on Behalf                     CASE No.: 1:19-cv-06137-GHW
  of All Others Similarly Situated,
                                                             STIPULATION AND ORDER
                  Plaintiff,                                 SETTING PLEADING AND
                                                             BRIEFING SCHEDULE
                  v.
                                                             CLASS ACTION
 ACER THERAPEUTICS INC., CHRIS SCHELLING,
 and HARRY PALMIN,

                  Defendants.


       WHEREAS, on July 1, 2019, plaintiff Tyler Sell commenced the above-captioned action

by filing his initial Class Action Complaint (“Initial Complaint”) (ECF No. 1) against defendants

Acer Therapeutics Inc., Chris Schelling, and Harry Palmin (collectively, “Defendants”);

       WHEREAS, the Initial Complaint asserts claims pursuant to Sections 10(b) and 20(a) of

the Securities Exchange Act of 1934 and Rule 10b-5 promulgated thereunder on behalf of a

putative class;

       WHEREAS, the Initial Complaint is governed by the Private Securities Litigation Reform

Act of 1995, including the provisions for the appointment of a lead plaintiff;

       WHEREAS, the parties anticipate that the Court-appointed lead plaintiff will file an

amended complaint against Defendants;

       WHEREAS, on August 6, 2019, by so-ordering the Joint Stipulation Regarding Time to

Answer or Otherwise Plead (ECF No. 8) (“August 6, 2019 Order”), this Court adjourned the

deadline by which Defendants would be required to respond to the Initial Complaint because a

response to the Initial Complaint may be rendered unnecessary by the filing of an amended

complaint;


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       WHEREAS, in the August 6, 2019 Order, the Court instructed the parties to submit

a proposed schedule for the filing of an amended complaint and the response thereto within 14

days following the order appointing Lead Plaintiff;

       WHEREAS, on September 25, 2019, the Court appointed plaintiff Nicholas Skiadas to

serve as Lead Plaintiff, and appointed The Rosen Law Firm, P.A. as Lead Counsel in this

action (ECF No. 24); and

       WHEREAS, Lead Plaintiff and Defendants have agreed, subject to the Court’s approval,

to a schedule governing the filing of (i) an amended complaint, (ii) Defendants’ response to that

amended complaint, and (iii) if Defendants’ response is by motion, a briefing schedule for such

motion practice,

       NOW, THEREFORE, the undersigned parties, through their attorneys and subject to the

Court’s approval, stipulate and agree to the following:




       1.       Lead Plaintiff shall file his amended complaint on or before December 3, 2019;

       2.       Defendants shall move, answer, or otherwise respond to the amended complaint on

or before February 7, 2020;

       3.       If Defendants file a motion to dismiss, Lead Plaintiff shall file his opposition to the

motion on or before March 6, 2020, and Defendants shall file their reply in further support of any

motion to dismiss the amended complaint on or before March 27, 2020.

       IT IS SO STIPULATED AND AGREED TO THIS 8th day of October, 2019.



The Court reminds the parties that, pursuant to Rule 2.C of the Court’s Individual Rules of Practice in Civil Cases, the
parties must submit a joint letter and schedule a pre-motion conference before filing a motion to dismiss. Therefore, if
Defendants intend to file a motion to dismiss, the parties should file a joint letter no later than January 10, 2019.




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 THE ROSEN LAW FIRM, P.A.                       MORRISON & FOERSTER LLP



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 and
                                                Counsel for Defendants Acer Therapeutics Inc.,
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 Lead Counsel for Lead Plaintiff and
 Putative Class

 In addition, the Court directs Defendant to submit a pre-motion conference letter with respect to any
 prospective motion to dismiss no later than January 15, 2020.
       October
Dated __________   ___,
                   9    2019                 IT IS SO ORDERED:



                                             The Honorable Gregory H. Woods
                                             United States District Judge




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